                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
v.                                                      )       NO. 3:13-00121
                                                        )       JUDGE CAMPBELL
EMILIA TIRADO-MEDINA, et al.                            )

                                               ORDER

        The trial in this case is set for October 1, 2013, at 9:00 a.m. A pretrial conference is

scheduled for September 30, 2013, at 1:00 p.m. A status conference is scheduled for September 13,

2013, at 8:15 a.m. All lawyers who will try the case shall attend the status conference.

        Any plea agreement shall be consummated by September 23, 2013, and the Courtroom

Deputy so notified. Any proposed plea agreement shall be submitted to the Court by September 24,

2013. If a plea agreement is submitted, the hearing to take the plea will take place on Sepember 30,

2013, at 1:00 p.m.

                                      Pretrial Filing Deadlines

        The parties shall file the following with the Court, on or before September 23, 2013, if the

case is to be tried: (1) case specific jury instructions, with citations to supporting authorities, and

verdict forms; and (2) motions in limine. Counsel for the parties shall comply timely with the

discovery and motion provisions of LCrR 12.01 and 16.01.

                                            Continuances

        Any motion to continue the trial, pretrial conference or plea dates shall be filed no later than

one week before the pretrial conference date. Any motion to continue the trial shall attach a Speedy

Trial Waiver signed by the Defendant or an explanation of why the Waiver is not attached.




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                                            Attendance

       All Defendants shall attend all Court proceedings in this case. If a Defendant is in custody,

the Government shall take all necessary actions to secure the timely presence of the Defendant.

                                        CJA Fund Requests

       In any request for CJA funds pursuant to 18 U.S.C. § 3006A(e), counsel shall indicate

whether prior requests have been made, and if so, provide identifying information for those requests.

       It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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